               Case 2:14-cv-02490-ROS Document 117 Filed 08/29/16 Page 1 of 3




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   Attorneys for Plaintiffs
 7
                            IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9 John J. Hurry, et al.,                     Case No. 2:14-cv-02490-PHX-ROS
10                              Plaintiffs,            MOTION FOR TEMPORARY STAY OF
11   v.                                                PROCEEDINGS

12   Financial Industry Regulatory Authority           Assigned to the Honorable Roslyn O. Silver
     Incorporated, et al.,
13
                               Defendants.
14
           The law firm of Mandel Young, plc (“MY”) and undersigned counsel (collectively, “Movants”)
15
     hereby move for a temporary stay of proceedings pending resolution of their Motion for Leave to
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     Withdraw and Plaintiffs’ engagement of new counsel to represent their interests and appear on their
17
     behalf in this action.
18
           Movants filed and served their Motion for Leave to Withdraw, Certificate of Counsel, and Motion
19
     for Expedited Consideration of Motion for Leave to Withdraw on August 29, 2016. The remaining
20
     plaintiffs is this action are John J. Hurry and Justine Hurry, husband and wife; and BRICFM, LLC,
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     FLJH, LLC; Hurry Family Revocable Trust; Investment Services Capital, LLC; Investment
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     Services Corporation; Investment Services Holdings Corp.; SCAINTL LLC; SCAP 4, LLC; SCAP
23
     5, LLC; SCAP 6, LLC; SCAP 7, LLC; SCAP 9, LLC; SCAP III, LLC; and Scottsdale Capital
24
     Advisors Partners, LLC. Plaintiffs will have to engage replacement counsel to represent them and
25
     appear on their behalf in this action. Those attorneys will require sufficient time to acquaint
26
     themselves with the claims and underlying facts in this action and otherwise prepare themselves to
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     meet the pending deadlines. Although Movants estimate that replacement counsel would require
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             Case 2:14-cv-02490-ROS Document 117 Filed 08/29/16 Page 2 of 3




 1 at least 30 days to do so, only replacement counsel will be able to provide this Court with an
 2 assessment of the time they will need.
 3        For the foregoing reasons, a temporary stay of proceedings is necessary and warranted.
 4        RESPECTFULLY SUBMITTED this 29th day of August 2016.
 5
                                                   MANDEL YOUNG PLC
 6
 7                                           By: /s/ Taylor C. Young
                                                 Robert A. Mandel
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 9                                               Peter A. Silverman
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              Case 2:14-cv-02490-ROS Document 117 Filed 08/29/16 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE
 2            The undersigned certifies that the original of the foregoing was transmitted this 29th day of
 3 August, 2016 to the Office of the Clerk of the U.S. District Court using the CM/ECF System, which will
 4 send notification of such filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants
 5 for this case.
 6                                                George Brandon
                                                  Gregory A. Davis
 7                                                Gregory S. Schneider
 8                                                Squire Patton Boggs (US) LLP
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10                                                Attorneys for Defendants
11   /s/ Taylor C. Young
12       Taylor C. Young
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